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IN THE UNITED sTATEs DISTRICT COURT F"-ED BY ~ D¢G-‘
WESTERN DISTRICT 0F TENNESSEE
wESTERN DIVISION 95 JUL |l¢ PH 2= 38
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GATOR FREIGHTWAYS, 1NC. d/b/a CLFB§§U§ “T§?CTOU!M
R+L CARRIERS’ \A n Cr‘ 51~:, j*:.:?::?¢’;PT'HS
Plaintiff,

v. No. 05-2301-1\/11 An

DORO MOTORS, INC.,

Defendant.

 

RULE 16(b) U.SCHEDULING ORDER

 

Pursuant to Rule 16(b) and Rule 26(£), the parties have met and agreed to the following
deadlines:

RULE 26(21)(1) DISCLOSURES: August 10, 2005
JOINING PARTIES:

(a) For Plaintiff: September 27, 2005

(b) For Defendant: October 27, 2005
AMENDING PLEADINGS:

(a) Fc)r Plaintiff: September 27, 2005

(b) For Defendant: October 27, 2005
COMPLETING ALL DISCOVERY: March 27, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS FOR
ADMISSION; March 27, 2006

(b) NON-EXPERT DEPOSITIONS: March 27, 2006

(c) EXPERT WITNESS IDENTIFICATION DISCLOSURES UNDER RULE
26(&)(2)

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with Rule 53 and,'or rs(a) FRCP on ' "O

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(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT INFORMATION:
January 27, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: February 27, 2006

(3) EXPERT WITNESS DEPOSITIONS: March 27, 2006
FILING DISPOSITIVE MOTIONS: April 27, 2006

FINAL LISTS OF WITNESSES AND EXHIBITS UNDER RULE 26(a)(3):

(a) For Plaintiff: (45 days before trial)

(b) For Defendant: (30 days before trial)
OTHER RELEVANT MATTERS:

No other depositions may be scheduled to occur after the discovery cutoff date unless
agreed to by counsel. All discovery requests must be filed sufficiently in advance of the
discovery cutoff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or the service of the response, answer, or objection, Which is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be Waived.

This case is set for jury trial, and the trial is expected to last 3 days. The pretrial order
date, pretrial conference date, and trial date will be set by the presiding j udge.

The parties are encouraged to engage in court~annexed attorney mediation or private
mediation after the close of discovery

The parties are reminded that pursuant to Local Rule 7.2(a)(l)(A), all motions, except

motions pursuant to Fed. R. Civ. P. 12, 56, 59 and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

IT ls so oRDERED this g§*é day or ,2005.

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UNITED STATES MAGISTRATE JUDGE

Thomas Barnett (#021380)

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& BER_KOWITZ, PC

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Attorney for Doro Motors, Inc.

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02301 Was distributed by faX, mail, or direct printing on
July l4, 2005 to the parties listed.

 

 

Thomas F. Barnett

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Honorable .l on McCalla
US DISTRICT COURT

